UNITED STATES DISTRICT COURT OF THE EASTERN DISTRICT OF NEW YORK Civil Action Number: 24 CV 4186

Date Filed:

ATTORNEY(S) ELEFANTE & PERSANIS, ESQ. PH: (914) 961-4400 .

141 HILLSIDE PLACE EASTCHESTER, NY 10709 | Court/Return Date:
NURO FERATOVIC

Plaintiff

vs
NEPTUNE MAINTENANCE CORP. a New York Corporation, 1350 E 18th LLC, a New York Corporation, ALBERT SROUR and KHALIL ISMAEL
Pedro J. Rodriguez, affirms and says: AFFIRMATION OF SERVICE

Deponent is not a party herein is over the age of 18 years and resides in the State of New York.
On February 28, 2025, at 12:09 PM at 495 Flatbush Ave, Suite B60, Brooklyn, NY 11225, Deponent served the within Amended Complaint

On: NEPTUNE MAINTENANCE CORP. , therein named, ( hereinafter referred to as "subject").

#7 ENTITYICORPORATIONI/LLC/LLP
By delivering to and leaving with Alex Srour said individual to be Office Assistant who specifically stated he/she was authorized to
accept service on behalf of the Corporation/Government Agency/Entity.

Cl #2 MAILING
On , service was completed by mailing a true copy of the above stated document(s) to NEPTUNE MAINTENANCE CORP. at
the above stated address in a First Class postpaid properly addressed envelope marked "Personal and Confidential" in an official
depository under the exclusive care and custody of the United States Post Office in the State of New York.

Bq #3 DESCRIPTION
Sex: Male Color of skin: White Color of hair: Salt & Pepper Age: 45 - 55 Yrs.
Height: 5it 9in - 6ft Oin Weight: Over 200 Lbs. Other Features:

[1#4 WITNESS FEES
The authorized witness fee and / or traveling expenses were paid (tendered) to the recipient in the amount of $

Cl #5 MILITARY SERVICE
Deponent asked person spoken to whether the person to be served is currently active in the military service of the United States or of
the State of New York, and was informed that said person is not.

C] #6 OTHER

The index number and the filing date of the action were endorsed upon the face of the papers so served herein.

| affirm on 3/1/2025 under the penalties of perjury under the laws of New York, which may include a fine
or imprisonment, that the foregoing is true, and | understand that this document may be filed in an

action or proceeding in a court of law.
Nel” _\—

Process Server, Please Sign
Pedro J. Rodriguez

Lic# 2024701

Client’s File No.: : Job #: 2011628

STATES PROCESS SERVING COMPANY, 13 TAYLOR AVENUE, CORTLANDT MAnor, NY 10567
AFFIRMATION OF DUE DILIGENCE - ATTEMPTS TO LOCATE AND/OR SERVE

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NURO FERATOVIC

Plaintiff
VS

NEPTUNE MAINTENANCE CORP. a New York Corporation, 1350 E 18th LLC, a New York Corporation, ALBERT SROUR and
KHALIL ISMAEL

Defendant

Pedro) Rodriguez , affirms and says: that deponent is not a party to this action, is over
ihe age of eighteen (18) years and resides in the State of New York : deponent attempted to serve the within
Amended Complaint

Upon NEPTUNE MAINTENANCE CORP
the defendant / respondent therein named, and that after due search, careful inquiry and diligent attempts
at: 495 Empire Bivd, Brooklyn, NY 11225

deponent was unable to effect process upon the person being served because of the following reason(s):
2/24/2025 1:39 PM I spoke with Shaina "Doe" a worker at Laces and Needies the business at the location, who stated that Neptune
Maintenance Corp, 1350 E. 18th LLC, Albert Srour and Khalil Ismael are unknown, do not work here or live in the apartment above the
store.

1 affirm on 2/26/2025 under the penalties of
getjury under the laws of New York, which may [a]: i Ta] alo

include a fine or imprisonment, that the foregoing wed peel Process Server
is true, and | understand that this document may if a Pedro J. Rodriguez
re filed in an action or proceeding in a court of fal? Ae Lic# 2024701
aw. Client’s File No.: Job #: 2011628

Srsves PROCESS SERVING Company, 13 TAYLOR AVENUE, CORTLANDT MANOR, NY 10567
